546 F.2d 908
    Mohawk Towing Company, Inc., motor vessel Louise E. Collins,M/V Louise E. Collinsv.P &amp; S Diesel Service, Inc.*
    No. 76-1685
    United States Court of Appeals, Fifth Circuit
    1/21/77
    
      1
      E.D.La.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir., see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    